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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                       j f)( IC #: -----:::+-ir?"i,_,.,,'----
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In re: PETROBRAS SECURITIES
LITIGATION                                           OPINION & ORDER

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JED S. RAKOFF, U.S.D.J.

     By Opinion and Order dated June 22, 2018, this Court

granted final approval of the Settlement Agreement in the

instant action and awarded attorneys'      fees to Class Counsel.

Dkt. 834. Now before the Court is the motion of objector William

Thomas Haynes   ("Objector")   for an award of attorneys'          fees for

his counsel, the Center for Class Action Fairness           ("CCAF"),         in

the amount of $199,400.

     For the reasons stated below, Objector will be awarded

attorneys'   fees, but only in the amount of $11,731.65

     Familiarity with all prior proceedings is here assumed.                    In

brief, as they relate to this fee request, Objector challenged

both the certification of the settlement class and Class

Counsel's fee request. See Objection of William Thomas Haynes,

as Trustee for the Benefit of W Thomas and Katherine Haynes

Irrevocable Trust for the Benefit of Sara L. Haynes, to the

Proposed Class Action Settlement and Attorneys'         Fee Request,

Dkt. 797. On June 22, 2018, this Court approved the Settlement

Agreement,   rejecting Objector's arguments in opposition, and
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awarded attorneys'           fees to Class Counsel, although in a

significantly lower amount than requested. See Opinion and Order

Dated June 25, 2018, Dkt. 834. As described below, one of the

bases for one aspect of the reduction in fees was directly

influenced by one of the Objector's arguments. Objector

subsequently filed the instant motion for his attorneys'                                 fees.

See Notice of Motion for Attorneys'                     Fees, Dkt. 839. Class

Plaintiffs oppose. See Class Plaintiffs' Memorandum of Law in

Opposition to CCAF's Motion for Attorneys'                         Fees, Dkt. 845.

       "[I]t is well settled that objectors have a valuable and

important role to perform in preventing collusive or otherwise

unfavorable settlements, and that ... they are entitled to an

allowance as compensation for attorneys'                        fees and expenses where

a proper showing has been made that the settlement was improved

as a result of their efforts." White v. Auerbach, 500 F.2d 822,

828   (2d Cir. 1974). "The actions of the party seeking to recover

costs must, however, be a substantial cause of the benefit

obtained." In re Holocaust Victim Assets Litig., 424 F.3d 150,

157   (2d Cir. 2005) . 1 In the absence of such a showing, objectors

are not entitled to fees. See In re Currency Conversion Fee

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these general guidelines, "the trial judge has broad discretion



1Unless otherwise indicated, case quotations omit all internal
quotation marks, alterations, footnotes, and citations.
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in deciding whether, and in what amount, attorneys'         fees should

be awarded, since he is in the best position to determine

whether the participation of objectors assisted the court and

enhanced the recovery." White, 500 F.2d at 828.

     The Court finds that Objector significantly contributed to

one aspect of the class's recovery, because a $46 million

reduction in Class Counsel's fee award is directly attributable

to Objector's argument that Class Counsel's expenditures on

Brazilian attorneys should be classified as costs rather than

attorneys'   fees. Objector was the only one to raise this

argument and,   in its Opinion ordering this reclassification, the

Court referred specifically to Objector as having raised the

issue and having identified the relevant case law. See Opinion

and Order Dated June 25, 2018 at 32-33, Dkt. 834. Because the

reclassification of Brazilian attorneys improved the overall

amount of the settlement awarded to the class, Objector is

entitled to attorneys'    fees attributable to advancing this

argument.

     However, the remainder of Objector's arguments on

attorneys'   fees failed to benefit the class or otherwise "assist

the court in framing the issues for the settlement ... or affect

the outcome as to fees." In re Excess Value Ins. Coverage

Litig.,   598 F. Supp. 2d 380, 393 (S.D.N.Y. 2005). Objector

devoted approximately half of his brief to arguments that the
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Settlement Class could not be certified, arguments rejected in

their entirety by the Court. Aside from the classification of

Brazilian attorney expenses, Objector's arguments as to the

excessiveness of Class Counsel's fee request were general ones -

that the multiplier was too high, the rates excessive, the

request too high a percentage of the class award - that did not

assist the Court in reaching its decision to award Class Counsel

lower fees than those sought.

     Objector argues that he should still receive fees for his

arguments on Class Counsel's fee request as he "could not have

known in advance of the objection deadline if the Court would

reduce attorneys'   fees as significantly as it did on its own,"

See Memorandum in Support of Motion for an Award of Attorneys'

Fees ("Obj. Memo.") at 4-5, Dkt. 840. Some courts "have

recognized that objectors' counsel are entitled to an award of

fees even where the Court would have likely reached the same

result, with or without the objectors' comments." Park v.

Thomson Corp., 633 F. Supp. 2d 8, 11      (S.D.N.Y. 2009). However,

other courts have denied obJectors fees where "modif1cat1ons

were entirely on the Court's initiative and devised by the

Special Master and the parties," or where they were "so general

and repetitive that they were of no assistance to an area with

which th[e] Court is intimately familiar." In re Currency, 263

F.R.D. at 132. See also In re Anchor Sec. Litigation, No. CV-88-
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3024, 1991 U.S. Dist. LEXIS 4573, at *6 (E.D.N.Y. Mar. 22, 1991)

(Denying fee request where objector challenged plaintiffs'

counsel's request for "a significant departure from the lodestar

amount" and "[p]revailing case law in this area of which this

Court was well aware determined that they were not entitled to

it."). The Second Circuit has also found it significant if "the

court's misgivings were a matter of record" before being raised

by the objector. See White, 500 F.2d at 829.

     In this case, the Court expressed concerns on the record as

to Class Counsel's anticipated fee request as early as the

February 23, 2018 Preliminary Approval Hearing. See Feb. 23,

2018 Tr. at 11:14-20 (Noting that Class Counsel's requested fee

award vastly exceeded the commonly-approved range and asking

"why in the world" the Court should approve such a large fee)

The Court ordered Class Counsel to submit its time records to

defendant's counsel for review,     Id. at 33:22-36:14, and

defendant's counsel subsequently produced an analysis raising

numerous issues with Class Counsel's fee request. See a Letter

from Lewis J. Liman to the Court dated May 7, 2018, Dkt. 793.

Objector did not advance this analysis, or otherwise alert the

Court to case law on attorneys' fees unfamiliar to the Court.

Accordingly, Objector is entitled only to attorneys'        fees for

his argument concerning the classification of Brazilian attorney

as the only argument that contributed to the settlement.
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       When granting fee awards, district courts are given "broad

discretion" in determining what is reasonable under the

circumstances. Luciano v. Olsten Corp., 109 F.3d 111, 115 (2d

Cir. 1997). See also Cmty. Tv Sys. v. Caruso, 284 F.3d 430, 437

(2d Cir. 2002)    (appellate review "of an award of attorneys'           fees

is highly deferential to the district court"). Courts typically

calculate reasonable attorneys'       fees using either a percentage

of recovery method, where the fee is set as a percentage of the

recovery, or the lodestar method, "under which the district

court scrutinizes the fee petition to ascertain the number of

hours reasonably billed to the class and then multiplies that

figure by an appropriate hourly rate." Goldberger v. Integrated

Re~,    209 F.3d 43, 47   (2d Cir. 2000).

       Objector has requested $199,400, a lodestar amount of

$117,316.50 with a multiplier of 1.7.         The lodestar is based on

231.7 total hours billed by four attorneys, one of whom billed

124.6 hours at a rate of $465 per hour and the other three of

whom billed the remainder of the hours at rates ranging from

$375 to $900.    See Deel. of Anna St. John at 6, Dkt. 841.

However, as evident from the above discussion, the vast majority

of this time was spent on activities and arguments unrelated to

the one that benefitted the class. The timesheets submitted by

CAFA specify that 7.7 hours, billed at $375 per hour, were spent

researching the Brazilian attorney argument, but the timesheet
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entries do not isolate the number of hours spent reviewing,

drafting, and editing that argument as compared to other

arguments in the brief.

     The Court finds a fee award of $11,731.65 warranted, which

represents 10% of Objector's lodestar. A substantial reduction

is appropriate as the vast majority of Objector's briefing

concerned unsuccessful arguments - the useful argument on the

Brazilian attorneys constituted only 1.5 pages of ObJector's 25-

page brief. However, because the argument was novel, well-

researched, and directly effectuated a substantial costs savings

to the class,   the Court finds the award of a full 10% of the

lodestar appropriate. This percentage is consistent with what

the Court finds to be a reasonable lodestar, allowing for 25

hours of research, drafting and editing at a junior level,

billed at $375, and 6.7 hours of review at a more senior level

billed at $465.

     As Objector was only involved in the case for a short

period of time and faced no risks in his involvement, the Court

finds no justification for granting Objector a multiplier.

Accordingly, this request is denied. The fact that the Court

approved a multiplier for class counsel does not entitle

Objector to a multiplier. See, e.g.,      Park,   633 F. Supp. at 13

(Granting a mult1pl1er to class counsel but denying it to the

objector as the objector's involvement "spanned a far shorter
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interval" and did not entail the nsignificant risks" class

counsel faced).

     Objector's fee award should be funded from Class Counsel's

fee award as Class Counsel's inappropriate, and potentially

costly, class1f1cation of its expenditure on Brazilian attorneys

as attorneys'    fees created the need for the objection. As

Objector illustrated, the law clearly barred Class Counsel's

categorization of these expenses, and Class Counsel never should

have sought recovery of these costs as attorneys'           fees.   It would

be inequitable to reduce class members' award for CldSS

Counsel's failure.

     In sum, Objector is hereby awarded attorneys'           fees in the

amount of $11,731.65, to be taken out of Class Counsel's fee

award.

     The Clerk is instructed to close docket number 839.



     SO ORDERED.

Dated:       New York, NY
             August f!/.-r 2018
